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                         UNITED STATES DISTRICT COURT
                           DISTRICT OF CONNECTICUT

UNITED STATES OF AMERICA                 :
     Plaintiff,                          :
                                         :      CRIMINAL ACTION NO.
v.                                       :      3:00-cr-44 (JCH)
                                         :
TODD DAVENDER                            :      MARCH 6, 2009
     Defendant.                          :


                  RULING RE: MOTION TO REOPEN [Doc. No. 686]

       The defendant, Todd Davender, brings a Motion to Reopen this case [Doc. No.

686] so that he may file a Motion for Relief from Judgment pursuant to Fed. R. Civ. P.

60(b). The grounds for Davender’s proposed Rule 60 Motion are newly discovered

evidence pursuant to Fed. R. Civ. P. 60(b)(2), and fraud on the court pursuant to Fed.

R. Civ. P. 60(b)(3).

       Fed. R. Civ. P. 60(c)(1) states: “A motion under Rule 60(b) must be made within

a reasonable time — and for reasons (1), (2), and (3) no more than a year after the

entry of the judgment or order or the date of the proceeding.” Therefore, because

Davender seeks to bring a Rule 60 motion for reasons (2) (newly discovered evidence)

and (3) (fraud on the court), such motion must be filed within one year of the entry of

judgment in this case. Judgment entered in this case on January 29, 2002, over seven

years ago. Therefore, Davender’s proposed Rule 60 motion is procedurally barred.

       Because Davender seeks to reopen this case solely for the purpose of filing a

Rule 60 motion – which, as discussed above, is procedurally barred – his Motion to

Reopen [Doc. No. 686] is DENIED.
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SO ORDERED.

    Dated at Bridgeport, Connecticut this 6th day of March, 2009.




                                      /s/ Janet C. Hall
                                     Janet C. Hall
                                     United States District Judge
